
USCA1 Opinion

	




          F    e    b    r    u    a    r    y 1    1    , 1    9    9    3                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________          No. 91-1334                                  BEATRICE MAYNARD,                                 Plaintiff, Appellee,                                          v.                             CENTRAL INTELLIGENCE AGENCY,                                Defendant, Appellant.                                 ____________________          No. 92-1615                                  BEATRICE MAYNARD,                                Plaintiff, Appellant,                                          v.                         CENTRAL INTELLIGENCE AGENCY, ET AL.,                                Defendants, Appellees.                                 ____________________                                     ERRATA SHEET               The opinion of this Court issued on February 4, 1993, is          amended as follows:               On page 3, line 7, delete "lower court's".               On page 3, after "it." on line 3 of second paragraph, add          footnote 3 as follows:  For the record, that order was not issued          by the Judge from whose final orders the appeal is taken."               On page 34,  line 17, replace "appropriate" with          "inappropriate".           February 11, 1993 UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________          No. 91-1334                                  BEATRICE MAYNARD,                                 Plaintiff, Appellee,                                          v.                             CENTRAL INTELLIGENCE AGENCY,                                Defendant, Appellant.                                 ____________________          No. 92-1615                                  BEATRICE MAYNARD,                                Plaintiff, Appellant,                                          v.                         CENTRAL INTELLIGENCE AGENCY, ET AL.,                                Defendants, Appellees.                                 ____________________                                     ERRATA SHEET                The opinion of this Court issued on February 4, 1993, is          amended as follows:               On page 47, last line, replace "Costs to appellees." with                                              ___________________          "Costs to appellees in No. 92-1615 and to appellant in No. 91-           _____________________________________________________________          1334."            ____          February 5, 1993  UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 91-1334                                  BEATRICE MAYNARD,                                 Plaintiff, Appellee,                                          v.                             CENTRAL INTELLIGENCE AGENCY,                                Defendant, Appellant.                                 ____________________        No. 92-1615                                  BEATRICE MAYNARD,                                Plaintiff, Appellant,                                          v.                         CENTRAL INTELLIGENCE AGENCY, ET AL.,                                Defendants, Appellees.                                 ____________________                    APPEALS FROM THE UNITED STATES DISTRICT COURT                              FOR THE DISTRICT OF MAINE                     [Hon. D. Brock Hornby, U.S. District Judge]                                            ___________________                                 ____________________                                        Before                                 Breyer, Chief Judge,                                         ___________                           Campbell, Senior Circuit Judge,                                     ____________________                            and Torruella, Circuit Judge.                                           _____________                                 ____________________            Steven J. Lyman with whom Law Office of Carl D. McCue was on            _______________           ___________________________        brief for plaintiff.            John P. Schnitker, Appellate Staff, Civil Division, Department of            _________________        Justice, with whom Stuart M. Gerson, Assistant Attorney General,                           ________________        Richard S. Cohen, United States Attorney, and Leonard Schaitman,        ________________                              _________________        Appellate Staff, Civil Division, Department of Justice, were on briefs        for defendants.                                 ____________________                                   February 4, 1993                                ____________________                        CAMPBELL, Senior Circuit Judge.  Plaintiff Beatrice                                ____________________            Maynard brought this action in the district court to compel            disclosure under the Freedom of Information Act ("FOIA"), 5            U.S.C.   552, of certain government documents and parts of            documents pertaining to the disappearance of her former            husband, Robert Thompson, during a flight over Cuba in            December of 1961.  Maynard had sought information about this            from various agencies, including the Central Intelligence            Agency ("CIA"), the Federal Bureau of Investigation ("FBI"),            the Defense Intelligence Agency ("DIA"), the State            Department, the Immigration and Naturalization Service            ("INS"), the United States Customs Service ("Customs            Service"), the Federal Aviation Administration ("FAA"), the            National Personnel Records Center ("NPRC"), and the Navy            Department.1  While certain records and other materials were            provided to her, Maynard felt that she was entitled to more,            and so brought this suit.                      After reviewing several documents in camera, the                                                        __ ______            district court ordered disclosure of two items of information               one name and one paragraph    that the government had            expressly redacted from materials it had furnished to            plaintiff.  The CIA appeals from the court's direction to            reveal the paragraph, arguing that the paragraph was properly                                            ____________________            1.  The  district  court   granted  the  parties'  stipulated            dismissal  of the  FAA, the  NPRC, and  the Navy  in February            1990.                                         -4-            withheld under FOIA's Exemptions 1 and 3, 5 U.S.C.              552(b)(1), (3).2  In all other respects, the district court            granted summary judgment in favor of the defendant agencies,            denying plaintiff's requests for further information, for            further document searches, and for attorney's fees.             Plaintiff now appeals from these judgments.                      Finding that Exemptions 1 and 3 authorize the CIA's            withholding of the redacted paragraph, we reverse the order            requiring the CIA to disclose it3.  We affirm the district            court's grant of summary judgment for the defendant agencies.                                          I.                                          I.                      1.  The CIA's Appeal                          ________________                      On January 22, 1987, plaintiff submitted FOIA            requests to the defendant agencies, seeking any information                                            ____________________            2.  FOIA  Exemption  1 provides  that  the FOIA's  disclosure            requirements  do  not  apply  to  matters  that  are  "(1)(A)            specifically  authorized under  criteria  established  by  an            Executive order to be kept secret in the interest of national            defense  or  foreign  policy  and (B)  are  in  fact properly            classified  pursuant to  such Executive order."   5  U.S.C.              552(b)(1).   The  information  at issue  here was  classified            pursuant to Executive Order 12356, 47 Fed. Reg. 14874 (1982).                 FOIA Exemption  3 pertains to matters  that are exempted            from  disclosure by a statute that  either "(A) requires that            the matters be  withheld from the public in such  a manner as            to  leave  no discretion  on  the issue,  or  (B) establishes            particular criteria  for withholding or  refers to particular            types of matters to be withheld."  5 U.S.C.   552(b)(3).  The            exempting  statute  here  is  50 U.S.C.     403(d)(3),  which            provides that "the Director  of Central Intelligence shall be            responsible  for protecting intelligence  sources and methods            from unauthorized disclosure."            3.  For  the record, that order  was not issued  by the Judge            from whose final orders the appeal is taken.                                         -5-            they might have concerning her former husband, Robert            Thompson.  She said he disappeared along with Robert Swanner            on a flight over Cuba, in December of 1961.  Thompson            apparently was involved in the distribution of anti-Castro            leaflets; plaintiff believed him to have worked for the CIA.             Among documents produced by the FBI in response  to            plaintiff's requests was a redacted memo dated December 22,            1961.  The FBI informed plaintiff that the excised            information had originated with the CIA and was being            withheld under FOIA Exemptions 1 and 3 at the CIA's request.             Plaintiff brought this action in the district court in            February 1988, seeking more complete disclosure, including            disclosure of the withheld paragraph.                      After the agency defendants moved for summary            judgment, the district court in March of 1990 ordered the            government to submit for the court's in camera inspection all                                                 __ ______            withheld and redacted documents in their complete form.  The            government did so on May 1, 1990.  Among the documents            submitted were thirty-two pages the FBI had located in its            search for documents responsive to plaintiff's FOIA            request.4  This material included the redacted memo of                                            ____________________            4.  The State Department also  submitted for in camera review                                                         __ ______            a document on which the State Department had redacted certain            identifying information,  such as the  names of  individuals,            for personal privacy concerns pursuant to FOIA Exemption 6.                                         -6-            December 22, 1961 that has since become the subject of the            CIA's appeal.                        To help explain its position, the CIA submitted to            the district court the public declaration of Katherine M.            Stricker, an Information Review Officer for the CIA's            Directorate of Operations.  With respect to Exemption 1,            which exempts national security information classified            pursuant to an Executive Order, Stricker explained that she            had personally reviewed the classification determinations            under the standards of Executive Order 12356.  Based on that            review, Stricker determined that the withheld information            would "reveal the identity of an intelligence source or            disclose an intelligence method," the unauthorized disclosure            of which, "either by itself or in the context of other            information, reasonably could be expected to cause damage to            the national security."  See Executive Order 12356,                                        ___            1.3(a)(4), (c), 47 Fed. Reg. 14874, 14876.  Accordingly, she            said, the information was properly classified at the "SECRET            level" and was exempt from disclosure under FOIA Exemption 1.                      With respect to Exemption 3, which protects            information exempted from disclosure by statute, Stricker            explained that, similar to Executive Order 12356, the            National Security Act, 50 U.S.C.   403(d)(3), requires the            Director of the CIA to protect intelligence sources and            methods from unauthorized disclosure.  Stricker concluded                                         -7-            that the redacted information fell within the ambit of the            statute because it identified the use of particular            intelligence methods used during specific time periods.             According to Stricker, the release of such information would            allow hostile intelligence organizations to neutralize the            use of those methods, thereby causing a concomitant loss of            intelligence.                      On November 14, 1990, the district court ordered            the government to give to plaintiff information from three of            the documents subject to in camera review.  This included the                                     __ ______            information at issue here    the third full paragraph on page            2 of the December 22, 1961 memo.5  The CIA moved for            reconsideration of the portion of the court's order regarding            the redacted paragraph and submitted an in camera declaration                                                    __ ______            by Stricker, which explained in further detail the nature of            the information withheld.  On February 1, 1991, the district            court granted the CIA's motion for reconsideration, but on            reconsideration, the court affirmed its earlier ruling,            finding that "the movant's assertion that disclosure will                                            ____________________            5.  The  district court's  order of  November 14,  1990, also            required  disclosure  of  material  contained  in  two  other            documents:   (1) a single name (E.L. Johnson) contained in an            FBI  document dated November 20, 1961; and (2) the third full            paragraph of an FBI memorandum  dated July 5, 1962.   The FBI            requested the district court to reconsider the portion of the            order regarding the July 5, 1962 memorandum, arguing that the            material was exempt from disclosure under FOIA Exemption 7(D)            as  information obtained  from  a confidential  source.   The            district court  granted the FBI's  motion for reconsideration            and vacated that portion of its order on February 1, 1991.                                         -8-            'reveal its sources and methods' in a matter now            approximately thirty years old is without substance and is,            indeed, the height of bureaucratic disingenuousness."  The            CIA appeals from this order.                                         -9-                      A.  FOIA Exemption 3                          ________________                      The FOIA gives members of the public access to            documents held in government files.  Every federal agency            "upon any request for records which . . . reasonably            describes such records" must make the records "promptly            available to any person."  5 U.S.C.   552(a)(3).  Nine            categories of documents are exempted from this broad            disclosure requirement.                           Exemption 3 permits a federal agency to            withhold matters that are:                      (3) specifically exempted from disclosure                      by statute . . . provided that such                      statute (A) requires that the matters be                      withheld from the public in such a manner                      as to leave no discretion on the issue,                      or (B) establishes particular criteria                      for withholding or refers to particular                      types of matters to be withheld.            5 U.S.C.   552(b)(3).  Two questions need to be answered in            determining whether Exemption 3 applies in a particular            situation.  CIA v. Sims, 471 U.S. 159, 167 (1985).  First,                        ___    ____            does the statute constitute a "statutory exemption to            disclosure within the meaning of Exemption 3"?  Second, is            the requested information "included within" the statute's            "protection"?  Id.                           ___                      The first question has already been answered            affirmatively for present purposes.  In Sims, the Supreme                                                    ____            Court held that 50 U.S.C.   403(d)(3), which provides that            "the Director of Central Intelligence shall be responsible                                         -10-            for protecting intelligence sources and methods from            unauthorized disclosure," is an Exemption 3 statute because            it specifies the types of material to be withheld under            subpart (B) of the Exemption.  471 U.S. at 167-68; accord                                                               ______            Knight v. CIA, 872 F.2d 660, 663 (5th Cir. 1989), cert.            ______    ___                                     _____            denied, 494 U.S. 1004 (1990); Miller v. Casey, 730 F.2d 773,            ______                        ______    _____            777 (D.C. Cir. 1984).                      In answering the second question    whether the            requested information is included within the statute's            "protection"    this court has stated that,                      once a court determines that the statute                      in question is an Exemption 3 statute,                      and that the information requested at                      least arguably falls within the statute,                      FOIA de novo review normally ends.                           __ ____            Aronson v. IRS, 973 F.2d 962, 965, 967 (1st Cir. 1992).              _______    ___                      The Supreme Court has said,                      it is the responsibility of the Director                      of Central Intelligence, not that of the                      judiciary, to weigh the variety of                      complex and subtle factors in determining                      whether disclosure of information may                      lead to an unacceptable risk of                      compromising the Agency's intelligence-                      gathering process.            Sims, 471 U.S. at 180.  In the intelligence area, the Court            ____            has commented that judges "have little or no background in            the delicate business of intelligence gathering" and may be            unable to comprehend the significance of material that            appears to be innocuous, but in fact can reveal a significant            intelligence source or method.  Id. at 176.  Therefore, in                                            ___                                         -11-            determining whether withheld material relates to intelligence            sources or methods, a court must "accord substantial weight            and due consideration to the CIA's affidavits."  E.g.,                                                             ____            Fitzgibbon v. CIA, 911 F.2d 755, 762 (D.C. Cir. 1990); see            __________    ___                                      ___            Sims 471 U.S. at 170 ("Congress intended to give the Director            ____            of Central Intelligence broad power to protect the secrecy            and integrity of the intelligence process").                      We have examined the unredacted version of the            December 22, 1961 memorandum.  In our opinion, it is at very            least "arguable" that the requested paragraph falls within 50            U.S.C.   403(d)(3) for the reason the CIA gave, to wit, that            it could reveal intelligence methods.  See Sims, 471 U.S. at                                                   ___ ____            180-81; Aronson, 973 F.2d at 967.  Giving due deference to                    _______            the agency's determination, we hold that the paragraph is            exempt from disclosure under FOIA Exemption 3 and 50 U.S.C.                                         -12-              403(d)(3).  The district court erred in ruling otherwise.6                       B.  FOIA Exemption 1                          ________________                      While our decision under Exemption 3 ends the            matter, we note that FOIA Exemption 1 leads to the same            result.  Exemption 1 permits the withholding of matters that            are:                      (1)(A) specifically authorized under                      criteria established by an Executive                      order to be kept secret in the interest                      of national defense or foreign policy and                      (B) are in fact properly classified                      pursuant to such Executive order.            5 U.S.C.   552(b)(1).  Executive Order 12356, upon which the            CIA relies, specifically authorizes the withholding of            information concerning "intelligence sources and methods,"                                              ____________________            6.  We  do not  agree  with the  district  court that  merely            because the information  here is thirty years  old, it cannot            detrimentally   reveal   intelligence  sources   or  methods.            Plaintiff conceded at oral argument before this court that if            the withheld information  relates to intelligence sources  or            methods,  the   passage  of  thirty  years,   by  itself,  is            insufficient  to   require   an  agency   to   disclose   the            information.  Courts have  generally rejected  the contention            that  the  mere age  of  intelligence  information rules  out            Exemption  3.   Fitzgibbon, 911  F.2d at 763-64.   Reluctance                            __________            stems from recognition that it is virtually impossible for an            outsider  to ascertain what effect the passage of time may or            may  not have  had to  mitigate the  harm from  disclosure of            sources and methods.   Such is true, certainly, as  to events            that have occurred  well within the careers of living persons            including governmental leaders (like Cuba's leader) still  in            power.  The  CIA, not the judiciary, is  better able to weigh            the  risks that  disclosure  of such  information may  reveal            intelligence sources  and methods so as  to endanger national            security.     Courts  have  accordingly  upheld  pursuant  to            Exemption  3  and 50  U.S.C.    403(d)(3) the  withholding of            information as old as  that sought by plaintiff here.   Sims,                                                                    ____            471 U.S. at 180 (approximately  thirty-year-old information);            Fitzgibbon 911 F.2d at 763-64 (same).            __________                                         -13-            1.3(a)(4), 47 Fed. Reg. 14874, 14876, and declares that            unauthorized disclosure of "intelligence sources and methods"            is "presumed to cause damage to the national security,"              1.3(c), 47 Fed. Reg. at 14876.                       When, as here, Exemptions 1 and 3 are claimed on            the basis of potential disclosure of intelligence sources or            methods, the standard of reviewing an agency's decision to            withhold information is essentially the same.7  Hrones v.                                                            ______            CIA, 685 F.2d 13, 17 (1st Cir. 1982); Military Audit Project            ___                                   ______________________            v. Casey, 656 F.2d 724, 736-37 n.39 (D.C. Cir. 1981)               _____            (Exemption 3 and 1 provide overlapping protection in cases            involving intelligence sources and methods); see Sims, 471                                                         ___ ____            U.S. at 190 n.6 (Marshall, J., concurring) (current Executive            Order 12356 moves Exemption 1 closer to Exemption 3 than its            predecessor Executive Order 12065).  Courts, therefore,            accord substantial deference to the CIA's determination that            information must be withheld under Exemption 1, and will            uphold the agency's decision so long as the withheld            information "logically falls into the category of the            exemption indicated," and there is no evidence of bad faith                                            ____________________            7.  Although  the  standards  are   substantially  identical,            courts,  in reviewing  Exemption 1  claims, state  that their            review is  de novo.  E.g., Goldberg v. United States Dept. of                       __ ____   ____  ________    ______________________            State,  818 F.2d 71, 77  (D.C. Cir. 1987),  cert. denied, 485            _____                                       ____________            U.S. 904 (1988).  In carrying out this de novo review, courts                                                   __ ____            "accord   substantial   weight  to   an   agency's  affidavit            concerning  the  details  of  the classified  status  of  the            disputed  record."   S. Conf.  Rep. No.  1200, 93d  Cong., 2d            Sess. 12 (1974), reprinted in 1974 U.S.C.C.A.N. 6290.                             ____________                                         -14-            on the part of the agency.  E.g., Bell v. United States, 563                                        ____  ____    _____________            F.2d 484, 487 (1st Cir. 1977); King v. United States Dep. of                                           ____    _____________________            Justice, 830 F.2d 210, 217 (D.C. Cir. 1987).  As already            _______            stated, the information withheld by the CIA in this case            "arguably" or "logically" pertains to intelligence methods.             There is no evidence of bad faith on the part of the            agency.8  The redacted paragraph is, therefore, exempt from            disclosure under FOIA Exemption 1 as well as under Exemption            3.9                                            ____________________            8.  Plaintiff  contends  that the  district  court improperly            denied discovery, which could have revealed agency bad faith.            To support this argument,  plaintiff cites Weisberg v. United                                                       ________    ______            States  Dept. of  Justice, 627  F.2d 365,  370-71  (D.C. Cir.            _________________________            1980),  in which the D.C. Circuit noted that discovery may be            appropriate  when the adequacy  of an  agency's search  is in            doubt.     As  discussed   below,  the  agencies'  affidavits            demonstrate  that their  searches  here were  adequate.   See                                                                      ___            Gillin  v.  IRS,  No. 92-1803,  slip.  op.  at  10 (1st  Cir.            ______      ___            December  7, 1992) (citing Goland  v. CIA, 607  F.2d 339, 355                                       ______     ___            (D.C. Cir. 1978)) (absent showing of bad faith  sufficient to            impugn  agency's affidavit demonstrating  adequacy of search,            district  court has  discretion to  forego  discovery), cert.                                                                    _____            denied, 445 U.S. 927 (1980).  In any case, plaintiff's claims            ______            that the district court abused its discretion  by denying her            discovery are  devoid of merit.   See infra at 42-43.   Thus,                                              ___ _____            Weisberg is inapposite.            ________            9.  As with Exemption  3, the  passage of  some thirty  years            does  not,  by itself,  invalidate  the  CIA's showing  under            Exemption 1.   Executive  Order 12356 provides,  without time            limit,  that "[i]nformation  shall be  classified as  long as            required by national security  considerations."    1.4(a), 47            Fed. Reg. at 14877.   Unlike its predecessor Executive  Order            12065, Executive  Order 12356  does not create  a presumption            favoring disclosure of information  once it reaches a certain            age.   Courts  have  recognized that  it  would be  extremely            difficult  for   the   judiciary  to   set  particular   time            limitations upon Exemption 1, at least within time parameters            of the duration  we are  discussing here.   Bonner v.  United                                                        ______     ______            States Dept. of State,  724 F. Supp. 1028, 1033  n.15 (D.D.C.            _____________________                                         -15-                      2.  Plaintiff's Appeal                          __________________                      Plaintiff alleges numerous errors in the district            court's discovery orders, grants of summary judgment, and            denial of attorney's fees.  Plaintiff complains specifically            of the following district court actions:  1) denying            plaintiff's request for Vaughn indices;10 2) ruling that                                    ______            the defendant agencies had conducted adequate searches; 3)            ruling that the government had properly claimed exemptions            under the FOIA; 4) denying various discovery requests; and 5)            denying attorney's fees to plaintiff.  We address each of            these claims of error and find that none has any merit.                      A.  Vaughn Index                          ____________                                            ____________________            1989),  vacated on  other grounds,  928 F.2d 1148  (D.C. Cir.                    _________________________            1991).   In  this  case, after  review  of the  paragraph  in            question,  Information Review Officer Stricker concluded that            the   "classification  [of   this   information]  should   be            maintained"  in the interests  of national security.   We are            not  in a  position  to "second-guess"  the CIA's  conclusion            regarding  the  need  for  continued  classification of  this            material.    Branch v.  FBI, 700  F.  Supp. 47,  48-49  &amp; n.4                         ______     ___            (D.D.C.  1988); see Sims, 471  U.S. at 178  ("[w]hat may seem                            ___ ____            trivial  to the uninformed, may appear of great moment to one            who has  a broad view of the scene and may put the questioned            item of  information in its proper  context.") (citations and            internal  quotations  omitted);  Bell,  563  F.2d  at  486-87                                             ____            (upholding under Exemption 1 the withholding of approximately            thirty-year-old  information).   But see  Wiener v.  FBI, 943                                             _______  ______     ___            F.2d 972,  981 n.15 (9th  Cir. 1991) (asking  under Executive            Order 12356 whether it is reasonable to  expect disclosure of            a twenty-year-old investigation to  reveal the existence of a            current intelligence investigation), cert. denied, 112 S. Ct.                                                 ____________            3013 (1992).            10.  The name  of these indices  is derived from  the seminal            case, Vaughn v. Rosen,  484 F.2d 820 (D.C. Cir.  1973), cert.                  ______    _____                                   _____            denied, 415 U.S. 977 (1974).            ______                                         -16-                      Plaintiff contends that the district court erred in            denying plaintiff's motion to compel each defendant agency to            prepare a Vaughn index.  A Vaughn index correlates                      ______           ______            information that an agency decides to withhold with the            particular FOIA exemption or exemptions, explaining the            agency's justification for nondisclosure.  E.g., Curran v.                                                       ____  ______            Department of Justice, 813 F.2d 473, 475 n.4 (1st Cir. 1987);            _____________________            Wightman v. Bureau of Alcohol, Tobacco &amp; Firearms, 755 F.2d            ________    _____________________________________            979, 981 n.1 (1st Cir. 1985).  An adequate Vaughn index                                                       ______            serves three functions:                      it forces the government to analyze                      carefully any material withheld, it                      enables the trial court to fulfill its                      duty of ruling on the applicability of                      the exemption, and it enables the                      adversary system to operate by giving the                      requester as much information as                      possible, on the basis of which he can                      present his case to the trial court.            Keys v. United States Dept. of Justice, 830 F.2d 337, 349            ____    ______________________________            (D.C. Cir. 1987) (quoting Lykins v. United States Dept. of                                      ______    ______________________            Justice, 725 F.2d 1455, 1463 (D.C. Cir. 1984)).  We find no            _______            merit in plaintiff's claim of improper denial of Vaughn                                                             ______            indices here.11          A Vaughn index was obviously not                                       ______                                            ____________________            11.  Although plaintiff  frames her claim as  one of improper            denial of  Vaughn indices, her brief  suggests that plaintiff                       ______            also contests  the adequacy of the Vaughn  indices that were,                                               ______            in  fact,  provided by  certain  of  the defendant  agencies.            Because a district court must  have an adequate factual basis            for making determinations as  to the applicability of claimed            FOIA  exemptions,  e.g., Bowers  v.  United  States Dept.  of                               ____  ______      ________________________            Justice, 930 F.2d 350,  353 (4th Cir.), cert. denied,  112 S.            _______                                 ____________            Ct.  308 (1991); Ingle v. United States Dept. of Justice, 698                             _____    ______________________________                                         -17-            called for from the INS, the DIA or the Customs Service.             These agencies disclaimed possession of any documents            material to plaintiff's request.  A Vaughn index could not                                                ______            even have been prepared in such circumstances.                        As for the CIA, the district court denied            plaintiff's motion for a Vaughn index, without prejudice,                                     ______            because plaintiff had failed to supply the CIA with data               e.g., the city or county of Thompson's birth and a copy of            his birth certificate     that the CIA said was necessary to            complete its search.  Although plaintiff subsequently            furnished the CIA with the requested information, the record            nowhere indicates that plaintiff renewed her request for a            Vaughn index from the CIA.            ______                      The CIA did file, in connection with its summary            judgment motion, both public and in camera declarations,                                             __ ______            asserting that particular information redacted or expressly            withheld was exempt from the FOIA under Exemptions 1 and 3            because it would reveal intelligence sources or methods.  One            such declaration was that of Information Review Officer            Stricker.  While this lacked specifics, a more detailed            affidavit could have revealed the very intelligence sources            or methods that the CIA wished to keep secret.  See, e.g.,                                                            ___  ____                                            ____________________            F.2d 259, 263 (6th  Cir. 1983), we address both  the adequacy            of  the agencies'  Vaughn  indices and  the propriety  of the                               ______            district court's decision with respect to plaintiff's initial            motion for Vaughn indices.                       ______                                         -18-            Doyle v. FBI, 722 F.2d 554, 556 (9th Cir. 1983) ("In certain            _____    ___            FOIA cases -- usually when national security exemptions are            claimed -- the government's public description of a document            and the reasons for exemption may reveal the very information            that the government claims is exempt from disclosure.");            Church of Scientology v. United States Dept. of Army, 611            _____________________    ___________________________            F.2d 738, 742 (9th Cir. 1979) ("the government need not            specify its objections in such detail as to compromise the            secrecy of the information.").                        When, as here, the agency, for good reason, does            not furnish publicly the kind of detail required for a            satisfactory Vaughn index, a district court may review                         ______            documents in camera.  E.g., NLRB v. Robbins Tire &amp; Rubber                      __ ______   ____  ____    _____________________            Co., 437 U.S. 214, 224 (1978) ("[t]he in camera review            ___                                   __ ______            provision is discretionary by its terms, and is designed to            be invoked when the issue before the District Court could not            be otherwise resolved"); Church of Scientology, 611 F.2d at                                     _____________________            742 (if court finds agency affidavits to be "too generalized            to establish eligibility for an exemption, it may, in its            discretion, proceed to examine the disputed documents in                                                                  __            camera for a first-hand determination of their exempt            ______            status").  Discretionary in camera review enables the court                                     __ ______            to "determine whether the failure of the affidavit stemmed            from mere inadvertence or from a truly overbroad reading of            the exemption by the agency."  Irons v. Bell, 596 F.2d 468,                                           _____    ____                                         -19-            471 n.6 (1st Cir. 1979).  The government, however, retains at            all times the burden of proving the exempt status of withheld            documents.12  E.g., Church of Scientology, 611 F.2d at 743.                          ____  _____________________                      In camera review is particularly appropriate when                      __ ______            the documents withheld are brief and limited in number.  See,                                                                     ___            e.g., Ingle v. Department of Justice, 698 F.2d 259, 264 (6th            ____  _____    _____________________            Cir. 1983) ("full in camera reviews are appropriate in cases                              __ ______            involving a very limited number of relatively brief            documents"); Church of Scientology, 611 F.2d at 743 ("small                         _____________________            number of documents requested, and their relative brevity,                                            ____________________            12.  The  1974 amendments to the  FOIA, P.L. 93-502, 88 Stat.            1561,  1562  (1974),  expressly  state  that  the  government            retains the burden of proving a document's exempt status even            when a district court conducts in camera review:                                           __ ______                 [The district  court] may  examine the contents  of such                 agency  records  in  camera to  determine  whether  such                 records or any part thereof shall be withheld  under any                 of  the exemptions set  forth in subsection  (b) of this                 section,  and the burden is on the agency to sustain its                 action.            5 U.S.C.   552(a)(4)(B).  The legislative history of the 1974            amendments to the FOIA further clarifies the district court's            discretion   in   conducting  in   camera   review  and   the                                          __   ______            government's burden of proof:                 While in  camera examinations need not  be automatic, in                       __  ______                 many  situations  it  will   plainly  be  necessary  and                 appropriate.     Before  the  court   orders  in  camera                                                               __  ______                 inspection,  the   Government   should  be   given   the                 opportunity  to  establish  by  means  of  testimony  or                 detailed  affidavits  that  the  documents  are  clearly                 exempt  from  disclosure.   The  burden  remains on  the                 Government under this law.            S.  Conf.  Rep.  No. 1200,  93d  Cong.,  2d  Sess. 9  (1974),            reprinted in 1974 U.S.C.C.A.N. 6267, 6287-88.            ____________                                         -20-            made these cases appropriate instances for exercise of the            district court's inspection prerogative.").  On the other            hand, "where the documents in issue constitute hundreds or            even thousands of pages, it is unreasonable to expect a trial            judge to do as thorough job of illumination and            characterization as would a party interested in the case."             Vaughn v. Rosen, 484 F.2d 820, 825 (D.C. Cir. 1973), cert.            ______    _____                                      _____            denied, 415 U.S. 977 (1974).            ______                      The district court here conducted an in camera                                                           __ ______            inspection of the relatively limited number of documents in            which the CIA claimed exemptions.  This provided an adequate            factual basis for the district court's decision and obviated            the need for further Vaughn indices from the CIA.  See, e.g.,                                 ______                        ___  ____            Irons, 596 F.2d at 471 (in camera inspection of documents            _____                   __ ______            along with in camera testimony can fully establish                       __ ______            applicability of FOIA exemption); King, 830 F.2d at 228                                              ____            (after holding that Vaughn index was inadequate, D.C. Circuit                                ______            suggests that district court on remand can review documents            in camera).            __ ______                      With respect to the State Department, the district            court denied plaintiff's request for a Vaughn index because                                                   ______            plaintiff did not contest the adequacy of the State            Department's claimed exemption.  The State Department            reported that it had found four documents responsive to            plaintiff's request. It released three of these in their                                         -21-            entirety and the fourth with minor excisions to protect            personal privacy interests pursuant to FOIA Exemption 6.  The            plaintiff did not challenge the excisions under Exemption 6,            rendering unwarranted a Vaughn index at that time.  The State                                    ______            Department subsequently submitted a declaration, explaining            that it had withheld names and other identifying information,            such as date and place of birth, address and occupation, of            persons other than plaintiff's deceased husband, because            "disclosure could subject these individuals or their families            to possible embarrassment or harassment."  This declaration            fully met any requirement under Vaughn that the State                                            ______            Department provide a reasoned justification for its            withholdings.  Furthermore, the State Department submitted            the one redacted document to the district court for in camera                                                                __ ______            review.                      Finally, in respect to the FBI, the district court            granted plaintiff's motion for a Vaughn index.  The FBI            _______                          ______            thereupon submitted two detailed declarations by David R.            Lieberman, a special agent in the Freedom of Information-            Privacy Acts Section of the FBI.  Mr. Lieberman explained            that the FBI had released twenty-five of forty-four pages of            material to plaintiff, and justified, by means of coded            indices,13 the withholding of information in order to                                            ____________________            13.  In  a "coded"  format,  an agency  breaks down  its FOIA            exemptions  into  subcategories,  explains the  nondisclosure            rationale  for  each  subcategory, and  then  correlates  the                                         -22-            protect the personal privacy of former FBI agents and third            parties (Exemption 7(C)) and to protect the identities of and            information provided by confidential sources (Exemption            7(D)).  Furthermore, as with the CIA and the State            Department, the government submitted all of the FBI's            documents for in camera review.  The Lieberman declarations                          __ ______            and coded indices, in conjunction with the district court's            in camera review of the documents, were adequate to meet any            __ ______            requirements under Vaughn that the government provide a                               ______            reasoned justification for its withholdings.  See, e.g.,                                                          ___  ____                                            ____________________            subcategories  to each  document  or portion  withheld.   For            example, the Lieberman declaration was  accompanied by copies            of  the documents  in  their redacted  form.   Next  to  each            redaction was  a code designation that corresponds  to a FOIA            exemption and  a subcategory  of information.   For instance,            one  of  the  subcategories  for  information  withheld under            Exemption  7(C)  was names  and  initials of  FBI  agents and            support personnel.  A coded symbol (b7C-1) would  appear next            to  any   deletions  that  fit  within   this  exemption  and            subcategory of information.   Use of  coded indices has  been            explicitly approved by several circuit courts as long as each            deletion is correlated "specifically and unambiguously to the            corresponding  exemption,"  and the  agency  affidavit places            "each   document  into   its  historical   and  investigative            context."  See, e.g., Keys v. United States Dept. of Justice,                       ___  ____  ____    ______________________________            830  F.2d 337, 349-50 (D.C. Cir. 1987).  Use of coded indices            is fully  consistent with the Supreme  Court's endorsement of            "workable  rules,"   under   which  general   categories   of            information  may be  withheld under  certain FOIA  exemptions            "without  regard to  individual  circumstances."   See United                                                               ___ ______            States Dept. of Justice v. Reporters Committee for Freedom of            _______________________    __________________________________            the Press,  489 U.S.  749,  779-80 (1989)  (upholding use  of            _________            categorical rules  in Exemption 7(C) context).   We therefore            agree with these circuits  that "it is the function,  not the            form, of the index that is important," and that coded indices            can, in  some instances,  accomplish the functions  of Vaughn                                                                   ______            "more efficiently and clearly than would the classical Vaughn                                                                   ______            indices."  Keys, 830 F.2d at 349.                         ____                                         -23-            Lykins, 725 F.2d at 1464 (when "an agency has released most            ______            of the contents of a document and has otherwise met its FOIA            obligations in good faith, a public statement that the            remaining small portions would reveal a confidential source -            - coupled with in camera review of the excised portions of                           __ ______            the document . . . is sufficient to meet Vaughn's                                                     ______            requirements.").                      Plaintiff's claim of improper denial of Vaughn                                                              ______            indices is, therefore, groundless and unsupported.                      C. The Adequacy of the Searches                         ____________________________                      Plaintiff next contends that the defendant agencies            did not conduct adequate searches for responsive documents.             Plaintiff directs most of her brief to this argument.             However, as with plaintiff's arguments regarding the            defendant agencies' Vaughn indices, plaintiff's contentions                                ______            with respect to the adequacy of the agencies' searches lack            merit and, in some instances, ignore agency affidavits that            cure deficiencies noted by the district court in earlier            affidavits.                      The adequacy of an agency's search for documents            under the FOIA is judged by a standard of reasonableness and            depends upon the facts of each case.  E.g., Weisberg v.                                                  ____  ________            United States Dept. of Justice, 745 F.2d 1476, 1485 (D.C.            ______________________________            1984).  The crucial issue is not whether relevant documents            might exist, but whether the agency's search was "reasonably                                         -24-            calculated to discover the requested documents."  Safecard                                                              ________            Servs., Inc. v. S.E.C., 926 F.2d 1197, 1201 (D.C. Cir. 1991).             ____________    ______                      In order to establish the adequacy of its search,            the agency may rely upon affidavits provided they are            relatively detailed and nonconclusory, and are submitted by            responsible agency officials in good faith.  E.g., Miller v.                                                         ____  ______            United States Dept. of State, 779 F.2d 1378, 1383 (8th Cir.            ____________________________            1985); Weisberg, 745 F.2d at 1485.  A satisfactory agency                   ________            affidavit should, at a minimum, describe in reasonable detail            the scope and method by which the search was conducted.  See,                                                                     ____            e.g., Oglesby, 920 F.2d at 68; Perry v. Block, 684 F.2d 121,            ____  _______                  _____    _____            127 (D.C. Cir. 1982).  The affidavit should additionally            "describe at least generally the structure of the agency's            file system which makes further search difficult."  Church of                                                                _________            Scientology of Cal. v. I.R.S., 792 F.2d 146, 151 (D.C. Cir.            ___________________    ______            1986) (Scalia, J.).                      If an agency fails to establish through reasonably            detailed affidavits that its search was reasonable, the FOIA            requester may avert summary judgment merely by showing that            the agency might have discovered a responsive document had            the agency conducted a reasonable search.  E.g., Weisberg v.                                                       ____  ________            United States Dept. of Justice, 705 F.2d 1344, 1351 (D.C.            ______________________________            Cir. 1983).  However, if an agency demonstrates that it has            conducted a reasonably thorough search, the FOIA requester                                         -25-            can rebut the agency's affidavit only by showing that the            agency's search was not made in good faith.  Miller, 779 F.2d                                                         ______            at 1383.  An agency's affidavit is "accorded a presumption of            good faith, which cannot be rebutted by 'purely speculative            claims about the existence and discoverability of other            documents.'"  Safecard Servs., 926 F.2d at 1200 (quoting                          _______________            Ground Saucer Watch, Inc. v. CIA, 692 F.2d 770, 771 (D.C.            _________________________    ___            Cir. 1981)).                      Plaintiff complains, first, that the FBI, the            Customs Service, and the State Department failed to search            "alternate spellings" and "files containing the information            of cohorts."  Plaintiff also charges that unspecified "clues"            contained in the four documents released to her by the State            Department "might have indicated" other potential            repositories of information that the State Department should            have searched.  Plaintiff's FOIA request, however, was            limited to "information pertaining to Robert Thompson."14             Because the scope of a search is limited by a plaintiff's            FOIA request, there is no general requirement that an agency            search secondary references or variant spellings.  See Gillin                                                               ___ ______            v. IRS, No. 92-1803, slip op. at 6 (1st Cir. December 7,               ___            1992) (quoting Meeropol v. Meese, 790 F.2d 942, 955 (D.C.                           ________    _____                                            ____________________            14.  Plaintiff sent identical FOIA requests to each defendant            agency stating the following:  "I  am requesting, through the            FOIA,  any  information you  may  have  concerning my  former            husband, Robert  Thompson.  He disappeared  along with Robert            Swanner on a flight over Cuba in December of 1961."                                          -26-            Cir. 1986)) ("The adequacy of an agency's search 'is measured            by the reasonableness of the effort in light of the specific            request.'").  Nor is there any requirement that an agency            conduct further searches on the basis of unspecified "clues"            in released documents.                      Second, plaintiff complains that the declarations            submitted by the FBI and the CIA were not based on personal            knowledge.  However, an agency need not submit an affidavit            from the employee who actually conducted the search.             Instead, an agency may rely on an affidavit of an agency            employee responsible for supervising the search.  E.g.,                                                              ____            Safecard Servs., 926 F.2d at 1201; cf. Weisberg v. United            _______________                    ___ ________    ______            States Dept. of Justice, 627 F.2d 365, 369 (D.C. Cir. 1980)            _______________________            (court holds that affidavit was inadequate because it was not            based upon personal knowledge of affiant or anyone else),            appeal on remand, 705 F.2d 1344 (D.C. Cir. 1983).  Here, the            ________________            FBI submitted several declarations of David Lieberman, a            supervisor in the FOIA section of the FBI's records division,            who reviewed the information in his official capacity.             Similarly, the CIA submitted the declarations of John Wright            and Katherine Stricker, the persons responsible for directing            FOIA searches at the CIA and determining the applicability of            FOIA exemptions.  These affidavits, although partly second-            hand, are sufficient to satisfy the government's burden of            submitting affidavits of responsible agency officials.                                         -27-                      Plaintiff also makes numerous arguments directed at            just one of the defendant agencies.  With respect to the FBI,            plaintiff contends that the FBI improperly limited its search            to "105, 106" references, rather than to all references.             This argument was first raised in an untimely motion for            reconsideration and was denied because it "should have been            raised earlier."  This court, therefore, reviews the denial            only for an abuse of discretion.  E.g., National Metal                                              ____  ______________            Finishing Co. v. Barclays American/Commercial, Inc., 899 F.2d            _____________    __________________________________            119, 125 (1st Cir. 1990).  In any case, plaintiff's argument            is contrary to the facts.  The FBI submitted a declaration            explaining that the "105, 106" reference was contained on a            1969 FOIA search slip, not plaintiff's 1987 search slip.             Consequently, the agency did not limit its search for            documents responsive to plaintiff's FOIA request to the "105,            106" reference.  The district court clearly did not abuse its            discretion in denying plaintiff's motion for reconsideration            on the basis of the scope of the FBI's search.                      With respect to the CIA, plaintiff complains that            summary judgment was improper because the CIA's affidavits            were not sufficiently detailed to enable plaintiff to            challenge the adequacy of the CIA's search.  Plaintiff            further argues that, in any case, it is clear that the CIA's            search was inadequate because a 1963 memorandum released to            plaintiff contains a reference to other "records," which have                                         -28-            not been disclosed.  According to plaintiff, the potential            existence of other records with no explanation by the CIA for            its failure to produce those other records demonstrates the            inadequacy of the CIA's search for responsive documents.                      Plaintiff's argument regarding the sufficiency of            the CIA's affidavits is unpersuasive.  The CIA submitted            several public declarations by John H. Wright, its            Information and Privacy Coordinator, explaining that the CIA            conducted two searches    first, of officially released            documents15 and, second, of the records of the three            Directorates where it believed responsive records would be            found, including the Directorates of Operations (records of            clandestine foreign intelligence and counter intelligence            activities), Intelligence (records interpreting important            world events), and Administration (records of employees).             Wright's declaration of December 7, 1988 sets forth in a very            general manner the method by which the CIA retrieves            documents.16  The Wright declaration further explains that                                            ____________________            15.  The search of officially released  documents yielded one            responsive document, which was  forwarded to plaintiff.  This            document,  a March 20,  1963 memorandum, states  that the CIA            had  no connection with plaintiff's  husband or the flight in            question.            16.  The Wright declaration  explains that the  CIA's records            systems are diverse,  decentralized, and compartmentalized in            order  to  enhance  security   of  documents  by   minimizing            accidental disclosure of sensitive information.  With respect            to the CIA's method  of retrieving documents, the declaration            states the following:                                         -29-                                            ____________________                      3.   The  nature  and  design of  the  CIA  records                 systems  are determined  by the  nature of  the Agency's                 intelligence activities and responsibilities.  Documents                 are generally  retrievable if they  are in a  file which                 contains a collection of  documents on the same subject,                 and the subject  is indexed  in a system  that alerts  a                 searcher to the existence  and location of the file,  or                 if the document is individually indexed in a system that                 alerts a searcher  to the document.   If information  is                 stored  other than  on paper,  it must  be indexed  in a                 manner which  alerts the  searcher to its  existence and                 location.     The  manner  in  which   the  CIA  indexes                 information  for storage  and retrieval  purposes varies                 according to  the nature  of  the intelligence  activity                 that the  records are intended to support.   Our ability                 to  retrieve  data  from   a  given  records  system  is                 determined by  what information  has been stored  in the                 system  and how  the  system is  designed for  retrieval                 purposes.                      4.   It  is crucial  to note  that the  CIA records                 storage  processing and  retrieval systems  are designed                 and programmed to respond to the particular intelligence                                                             ____________                 responsibilities and problems of the component using the                 system.  For example, a component charged with political                 analysis of a particular  foreign power may organize its                 files   under   various  subjects--names   of  prominent                 politicians, party names, geographical concentrations of                 power,   etc.    Another  component,  with  a  different                 intelligence  mission, may set up its files in a totally                 different   fashion.    Accordingly,  the  structure  of                 particular records systems are not uniform  but, rather,                 differ according to the intelligence responsibilities of                 the component  maintaining the system.   Moreover,  some                 records  systems  are  such  an  integral  part  of  the                 associated intelligence activity that the  record system                 necessarily  bears  the   same  classification  as   the                 intelligence activity. . . .                      5.  When Privacy Act and FOIA requests are received                 in the Information Services  Division (ISD), the initial                 reception  point  for all such requests  received by the                 CIA, a determination is made by experienced personnel in                 ISD as to what components of the Agency might reasonably                 be expected to possess records which might be responsive                 to each  request.  Copies  of the requesting  letter are                 then forwarded to each such component  with instructions                 that  a search  be  made for  any responsive  documents.                 This initial step is called "tasking" of the components.                 Searches are then routinely  made among all indices that                                         -30-            some of the record systems searched in response to            plaintiff's FOIA request are classified.17  According to            Wright, "a detailed discussion would entail the disclosure of            classified information, including information revealing            intelligence sources and methods."  Since public disclosure            of additional details about the CIA's structure and its FOIA            search here was not possible, the CIA submitted an in camera                                                               __ ______            declaration detailing the searches conducted by the CIA for            responsive documents.  After reviewing the public and in                                                                  __                                            ____________________                 might logically have any  information relating to .  . .                 the substance  of  request  under  the FOIA.    In  this                 regard, it  is necessary  to understand that  the search                 for  records in  each individual component  is dependent                 upon  the  component's  unique  indexing  system.    The                 indices are the source of  any clues into the  existence                 and location  of responsive  records.  For  example, the                 indexing   systems   for   records  contained   in   the                 Directorate of Operations (DO) are not the same as those                 used in the  Office of  Security (OS).   Therefore,  the                 search for records in each component must be carried out                 by an  individual who has knowledge  of that component's                 indexing system. . . .            The declaration, however, provides no details as to the CIA's            search for documents responsive to plaintiff's FOIA request.            17.  The National Security Act, 50 U.S.C.   403g, provides in            relevant part:                 In  the  interests  of   the  security  of  the  foreign                 intelligence  activities of  the  United  States and  in                 order  further  to  implement  the  proviso  of  section                 403(d)(3)  of this  title that  the Director  of Central                 Intelligence   shall   be  responsible   for  protecting                 intelligence  sources  and  methods   from  unauthorized                 disclosure,  the Agency shall be exempted from . . . the                 provisions   of  any  other   law  which   requires  the                 publication   or   disclosure   of   the   organization,                 functions, names, official titles, salaries,  or numbers                 of personnel employed by the Agency.                                         -31-            camera declarations of Mr. Wright, we are satisfied that the            ______            CIA's search was "reasonably calculated to discover the            requested documents."  See Safecard Servs., 926 F.2d at 1201.                                   ___ _______________                      As the CIA has provided relatively detailed            affidavits demonstrating the reasonableness of its search, we            reject plaintiff's argument regarding the 1963 memorandum's            reference to other "records."  As the district court noted,            the fact a 1963 document refers to the existence of other            records does not independently generate an issue of material            fact rendering summary judgment improper so long as            reasonably detailed, nonconclusory affidavits demonstrate the            reasonableness of the agency's search performed in 1990.             See, e.g., Miller, 779 F.2d at 1385.            ___  ____  ______                      As to the Customs Service, plaintiff contends that            summary judgment on the adequacy of the agency's search was            improper because (1) the Customs Service improperly limited            its search to its automated Treasury Enforcement            Communications System ("TECS"); (2) the declarations            submitted by the Customs             Service are inconsistent; and (3) the Customs Service did not            search possible border crossing records for the period prior            to 1982 because it would involve "significant effort."                         Plaintiff's first two arguments are interrelated            and neither has any merit.  The Custodian of Records for all            electronic records, Ellen Mulvenna, submitted three separate                                         -32-            detailed affidavits explaining the structure of the Customs            Service's record systems.  Plaintiff suggests that the            Mulvenna declarations are inconsistent because the first            declaration states that the original TECS records date back            to the early 1970's and the second declaration states that            all investigatory records, including records in the 1960's,            are included in the TECS.  Contrary to plaintiff's assertion,            these statements appear to be fully consistent.  According to            the later Mulvenna affidavits, the TECS system was created in            1970.  At that time, all existing records were placed in the            TECS.  Therefore, as explained in the third Mulvenna            affidavit, the Customs Service's search was appropriately            limited to the TECS system since "[a]ny information on            Plaintiff's missing husband that might have been contained in            the records of the U.S. Customs Service as of the date that            the TECS system was created in 1970 would have been placed in            the TECS data system."                      Plaintiff's challenge to the adequacy of the            Customs Service's search is also unpersuasive.  While the            government's declarations acknowledged that a search of            border crossing data would involve "significant effort," they            also made clear that such data only exists for dates after            1976, fifteen years after plaintiff's husband disappeared.             It would seem reasonable, therefore, not to have searched the                                         -33-            border crossing data, quite apart from any special effort            involved.                      Plaintiff's challenges to the State Department's            searches also lack merit.  Plaintiff complains that (1) the            State Department did not identify who conducted the search or            specify the background and experience of that person; (2) the            State Department's declaration leaves open the inference that            some sources that are only 'likely' to contain information            were not searched; and (3) the declaration does not include a            "comprehensive listing of 'decentralized record systems.'"                      There is, however, no general requirement for an            agency to disclose the identity and background of the actual            persons who process FOIA requests.  Plaintiff relies on            Weisberg, 627 F.2d at 371, which reversed a district court's            ________            grant of summary judgment because the agency affidavits did            not "denote which files were searched or by whom, [did] not            reflect any systematic approach to document location, and            [did] not provide information specific enough to enable            [plaintiff] to challenge the procedures utilized."  Plaintiff            reads Weisberg too broadly.  See Perry, 684 F.2d at 127                  ________               ___ _____            (noting that Weisberg "involved rather special facts that                         ________            tended to cast considerable doubt on the adequacy [of the            agency's search]" because "the agency's own assertions            supported an inference that specifically identified material,            solicited by the requester, might have remained in the                                         -34-            agency's possession.").  The point of Weisberg and subsequent                                                  ________            cases is that search methods should be ones reasonably            calculated to locate the requested information, assuming it            exists.  The State Department's declaration suffices to            demonstrate that its search methods met this standard.18                      Plaintiff's second argument is that the State            Department's declaration "leaves open the inference that some            sources that are only 'likely' to contain information were            not searched."  See Oglesby, 920 F.2d at 68 ("agency cannot                            ___ _______            limit its search to only one record system if there are            others that are likely to turn up the information            requested").  Plaintiff appears to base this inference upon a            letter from the State Department declaring that it searched            the two record systems "most likely to contain the                                    ____            information" requested.  However, a subsequent State                                            ____________________            18.  The   State   Department's  declaration   explains  that            responsive  records,  "if  they  existed,  would   likely  be            expected to be contained in two records systems, namely:  the            Central Records; and the Office of Overseas Citizens Services            [OCS]."  While name  searches of two of the  three categories            of Central  Records files (the Automated  Document System and            the Lot  Files) turned up  no records, a  name search of  the            "personality cross-reference"  to the Central  Foreign Policy            Files  (a  third  category  of  Central  Records)  identified            twenty-three responsive documents which  had been sent to the            OCS  "for action."  The OCS retirement manifests along with a            document-by-document  search revealed that  nineteen of these            documents  "had been  destroyed in  May, 1979,  in accordance            with  approved  disposition  schedules," leaving  only  "four            documents  responsive  to  this   request  [that]  were   not            destroyed."    Three  of  these documents  were  produced  to            plaintiff with no excisions, and the fourth was produced with            minor excisions based on personal privacy grounds pursuant to            FOIA Exemption 6.                                         -35-            Department declaration by its Information and Privacy            Coordinator, Frank M. Machak, declared that searches were            conducted of all "record systems" that were "likely" to            contain the information requested.                      Finally, plaintiff's demand for a "comprehensive            listing of 'decentralized records systems'" is also            unfounded.  "There is no requirement that an agency search            every record system."  Oglesby, 920 F.2d at 68.  Nor is there                                   _______            any requirement that an agency provide a comprehensive list            of record systems unlikely to contain responsive records.             Rather, an agency need only provide "[a] reasonably detailed            affidavit, setting forth the search terms and the type of            search performed, and averring that all files likely to            contain responsive materials . . . were searched," see, e.g.,                                                               ___  ____            id., as well as a general description of the structure of the            ___            agency's file system demonstrating why further search would            be overly burdensome, see Church of Scientology of Cal., 792                                  ___ _____________________________            F.2d at 151.  Because the State Department's affidavits fully            meet this standard, summary judgment on the adequacy of the            State Department's search was inappropriate.19                                            ____________________            19.  Plaintiff  also suggests,  without  further argument  or            explanation, that  the State Department should  have searched            the records of the  "Cuba Desk" and the "Bureau  of Politico-            Military  Affairs."   Plaintiff's suggestion  seems factually            misguided.   It appears that  the records of  the "Cuba Desk"            (the  formal name for which is apparently the Office of Cuban            Affairs  in  the  Bureau   of  Inter-American  Affairs)  were            searched.   The Bureau  of Politico-Military Affairs,  on the            other hand,  is apparently concerned with  remote issues such                                         -36-                      With respect to the DIA's search, plaintiff            contends that summary judgement was inappropriate because (1)            a document that was forwarded from the FBI to the DIA in 1963            was not located by the DIA in its 1990 search; and (2) the            DIA's declaration does not adequately explain the data bases            searched or the procedures for information retrieval.                      As to plaintiff's first argument, "the fact that a            document once existed does not mean that it now exists; nor            does the fact that an agency created a document necessarily            imply that the agency has retained it."  Miller, 779 F.2d at                                                     ______            1385.  Thus the failure of the DIA to produce a copy of a            document, identified in a 1963 memo, does not mean that the            DIA's search in 1990 was inadequate, particularly when the            DIA has demonstrated that its 1990 search was reasonably            calculated to uncover responsive documents.  Plaintiff's            second contention also lacks merit.  The DIA's declaration            adequately explains the two data bases it searched.             According to the DIA's declaration, the Central Reference            Division of the DIA Directorate for Technical Services and            Support "searched its two data bases:  the Intelligence            Report Index Summary Archive (IRISA) and the All Source            Document Index Archive (ASDIA)."  IRISA "contains                                            ____________________            as arms control, nuclear  non-proliferation, outer space  and            the  coordination of military-related activities with foreign            policy.    The records  of  the  Bureau of  Politico-Military            Affairs, therefore,  seem unlikely to  contain any responsive            documents.                                         -37-            bibliographic references to all human intelligence            information reports held or produced by DIA."  ASDIA            "contains bibliographic citations to all intelligence            studies, contract reports, open source materials maintained            in the DIA library."  These two data bases, therefore,            included all materials maintained by the DIA that were likely            to contain responsive documents.  A search of these two data            bases failed to produce any information pertaining to            plaintiff's husband.  While the DIA's declaration could have            described the actual search conducted in more detail, any            "arguable inadequacy of the search descriptions" is "no more            than marginal and does not render the grant of summary            judgment appropriate."  See Perry, 684 F.2d at 127.                                    ___ _____                      Finally, plaintiff contends that the INS's search            was inadequate because it took seventeen months to locate a            responsive file and because the file was lost in 1985 and not            found and turned over to plaintiff until after her appeal was            taken in 1992.  Neither of these arguments is persuasive.             Plaintiff's first contention was raised initially in an            untimely motion for reconsideration.  Therefore, we review            the district court's denial of this motion only for abuse of            discretion.  See, e.g., National Metal Finishing Co., 899                         ___  ____  ____________________________            F.2d at 125.  Delay in locating a document "is significant            only to the extent that evidence shows that the delay            resulted from bad faith refusal to cooperate."  Miller, 779                                                            ______                                         -38-            F.2d at 1386; accord Perry, 684 F.2d at 128 (court upholds                          ______ _____            adequacy of agency search notwithstanding delay of over one            and one half years); Goland, 607 F.2d at 355 (agency delay,                                 ______            by itself, is not indicative of lack of good faith).  Because            plaintiff presented no evidence to suggest that the            seventeen-month delay resulted from bad faith, the district            court properly denied plaintiff's untimely motion for            reconsideration.                        Plaintiff's second argument fares no better.             Essentially, plaintiff argues that the fact that a file was            lost and then found undercuts the DIA's contention that its            search was reasonable.  See Goland, 607 F.2d at 369-70.  In                                    ___ ______            Goland, one week after the D.C. Circuit affirmed a district            ______            court's conclusion that the CIA had conducted an adequate            search, see 607 F.2d 339 (D.C. Cir. 1978), the CIA informed                    ___            the Justice Department that it had discovered additional            documents responsive to the plaintiff's FOIA request while            the appeal had been pending.  Although some of these            documents were subsequently released to the plaintiff, the            plaintiff sought to have the D.C. Circuit reconsider its            opinion as to the adequacy of the CIA's search, arguing that            the discovery of additional documents undercut the finding            that the search had been reasonable.  The D.C. Circuit            rejected the argument, stating that "[t]he issue was not            whether any further documents might conceivably exist but                                         -39-            whether [the agency's] search for responsive documents was            adequate."  607 F.2d at 369-70.  Although the court noted            that the discovery of additional documents may be evidence            that a search is not thorough, the court was satisfied that            "the original failure to uncover the documents was wholly            understandable and not inconsistent with the district court's            finding that the search was thorough."  Id. at 370, 372; see                                                    ___              ___            also Miller, 779 F.2d at 1386 (discovery of additional            ____ ______            documents is not conclusive of agency bad faith since belated            discovery may result merely from administrative inefficiency            or reluctant diligence on the part of the agency); Perry, 684                                                               _____            F.2d at 128 (discovery of additional documents indicated            "neither artifice nor subterfuge but rather, at worse (sic),            administrative inefficiency.").                        Similarly here, the INS submitted a declaration to            the district court, explaining that the three-page document            responsive to plaintiff's FOIA request was lost in transit            from the Federal Records Center in Atlanta to the INS Central            Office in Washington, D.C.  More important, the INS submitted            an additional declaration detailing the extensive steps taken            by the INS to locate the missing file, including computer and            manual shelf-by-shelf searches.  In light of the detailed            affidavits demonstrating the adequacy of the INS's initial            search and the subsequent search for the missing file, we are            not persuaded that the district court was incorrect in                                         -40-            concluding that the searches were reasonable and in good            faith.  Instead, the agency's initial inability to find the            missing file appears to be the result of administrative            inefficiency.  Nor can we say that the agency's subsequent            discovery and release of the lost file impugns the integrity            of the INS's affidavits.  Rather than bad faith, we think the            forthright disclosure by the INS that it had located the            misplaced file suggests good faith on the part of the agency.             See Meeropol, 790 F.2d at 953 ("what is expected of a law-            ___ ________            abiding agency is that it admit and correct error when error            is revealed.").                      In sum, we are satisfied, as was the district            court, that each defendant agency presented reasonably            detailed, nonconclusory affidavits demonstrating the            reasonableness of their respective searches.  We reject            plaintiff's suggestion that the agencies' affidavits were            insufficient to support summary judgment on the issue of the            adequacy of the agencies' searches.                      D.  FOIA Exemptions                          _______________                      Plaintiff contends that the district court            improperly upheld the FBI's withholding of information under            FOIA Exemption 6 and asks us to join all other defendants in            this argument.  Exemption 6 permits withholding of the            following:                      personnel and medical files and similar                      files the disclosure of which would                                         -41-                      constitute a clearly unwarranted invasion                      of personal privacy.            5 U.S.C.   552(b)(6).                        It is not surprising that plaintiff was unable to            find any justification under Exemption 6 for the FBI's            excisions since the FBI did not claim Exemption 6 as the            basis of its withholding.  Rather, it claimed Exemption            7(C),20 which permits the withholding of                      records or information compiled for law                      enforcement purposes,  but only to the                      extent that the production of such law                      enforcement records or information . . .                      (C) could reasonably be expected to                      constitute an unwarranted invasion of                      personal privacy.            5 U.S.C.   552(b)(7)(C).                      In analyzing Exemption 7(C) claims, courts balance            "privacy" interests against any "public interest" in            disclosure.  United States Dept. of Justice v. Reporters                         ______________________________    _________            Committee for Freedom of the Press, 489 U.S. 749, 762 (1989).             __________________________________            The FBI asserted three interests warranting privacy            protection:  (1) the names and initials of low-level FBI            agents and support personnel; (2) the names and identifying                                            ____________________            20.  The FBI  additionally relied  on FOIA Exemption  7(D) to            justify certain  withholdings.  See 5  U.S.C.   552(b)(7)(D).                                            ___            Exemption  7(D) provides  protection for  confidential source            information.   See,  e.g., Providence  Journal Co.  v. United                           ___   ____  _______________________     ______            States Dept. of  Army, No.  92-1166, slip op.  at 20-21  (1st            _____________________            Cir. December 8, 1992).   As plaintiff has failed  to present            any  argumentation with  respect to  Exemption 7(D),  she has            waived  any claims of  error regarding this  exemption.  See,                                                                     ___            e.g., Elgabri v. Lekas, 964 F.2d 1255, 1261 (1st Cir. 1992).            ____  _______    _____                                         -42-            data of third parties interviewed in the course of the FBI's            investigation; and (3) the names and identifying data of            third parties mentioned as subjects of the FBI's            investigation.  The FBI's declaration details the potential            for harassment, reprisal or embarrassment if this information            is disclosed.  FBI agents, support personnel, confidential            sources, and investigatory targets all have significant            privacy interests in not having their names revealed.  New                                                                   ___            England Apple Council v. Donovan, 725 F.2d 139, 142 (1st Cir.            _____________________    _______            1984) (career public servants); Safeguard, 926 F.2d at 1205                                            _________            (investigatory targets); Fitzgibbon, 911 F.2d at 767                                     __________            (suspects, witnesses, and investigators all have strong            privacy interest "in not being associated unwarrantedly with            alleged criminal activity.").                      The Supreme Court recently held that the only            cognizable "public interest" for purposes of FOIA is "the            citizens' right to be informed about 'what their government            is up to.'"  Reporters Committee, 489 U.S. at 773.  "That                         ___________________            purpose . . . is not fostered by disclosure of information            about private citizens that is accumulated in various            governmental files but that reveals little or nothing about            an agency's own conduct."  Id.; Federal Labor Relations Auth.                                       ___  _____________________________            (FLRA) v. United States Dept. of Navy, 941 F.2d 49, 57 (1st            ______    ___________________________            Cir. 1991) ("[w]hatever non-zero privacy interest at stake,            under Reporters Committee, that interest cannot be outweighed                  ___________________                                         -43-            by a public interest in disclosure -- whatever its weight or            significance -- that falls outside of the FOIA-cognizable            public interest in permitting the people to know what their            government is up to."); cf. Providence Journal Co. v. United                                    ___ ______________________    ______            States Dept. of Army, No. 92-1166, slip op. at 35-36 (1st            ____________________            Cir. December 8, 1992) (public has interest in disclosure of            governmental misconduct by high ranking agency officials).                      Plaintiff here has failed to suggest how the            disclosure of the names would reveal what the government is            up to.  We need not, therefore, dwell upon the balance            between privacy and public interests:  "something . . .            outweighs nothing every time."21  Fitzgibbon, 911 F.2d at                                              __________            768 (quoting NARFE v. Horner, 879 F.2d 873, 879 (D.C. Cir.                         _____    ______            1989), cert. denied sub nom. NARFE v. Newman, 494 U.S. 1078                   _____________________ _____    ______            (1990).  Accordingly, plaintiff's claim for disclosure fails            under Exemption 7(C).                      Plaintiff's claim for disclosure fits no better            within Exemption 6.  The only agency actually to rely on            Exemption 6 for any withholdings is the State Department.  In            its declaration, the State Department explained that it had                                            ____________________            21.  For the same reason,  the effect of the passage  of time            upon the individual's privacy  interests is simply irrelevant            when  a  FOIA  requestor  is  unable  to  suggest  any public            interest in  the disclosure of  names that would  reveal what            the  government is up to.   Privacy interests,  no matter how            minimal,  will outweigh  a nonexistent  public interest.   We            therefore reject  plaintiff's suggestion that the  FBI should            have considered  "the mitigation  of time" on  documents over            twenty-five years old.                                         -44-            withheld the names and other identifying information (i.e.,                                                                  ____            date and place of birth, address and occupation), because            disclosure could subject individuals or their families to            harassment or embarrassment, and the public interest in            disclosure, if any, was minimal.  This characterization seems            entirely justified.                        As with Exemption 7(C), courts must balance the            relative privacy and public interests to determine whether            information is properly withheld under Exemption 6.  Although            "the Government's burden in establishing the requisite            invasion of privacy to support an Exemption 6 claim is            heavier than the standard applicable to Exemption 7(C),"            United States Dept. of State v. Ray, 112 S. Ct. 541, 546            ____________________________    ___            (1991) (citing Reporters Committee, 489 U.S. at 756), the                           ___________________            teachings of Reporters Committee with regard to the public                         ___________________            interest side of the equation apply equally in the Exemption            6 context, see id. at 549; FLRA, 941 F.2d at 56.  Therefore,                       ___ ___         ____            any inquiry into the public interest in disclosure of            withheld information must focus "on the citizens' right to be            informed 'about what their government is up to.'"  Id.                                                               ___            (quoting Reporters Committee, 489 U.S. at 773).  Because                     ___________________            plaintiff has failed to point out how the withheld            information would reveal anything significant about the State            Department's "performance of its statutory duties," id.                                                                ___            (quoting Reporters Committee, 489 U.S. at 773), and because                     ___________________                                         -45-            the State Department has asserted a legitimate privacy            interest in withholding names and other identifying            information, we hold under the teachings of Ray and Reporters                                                        ___     _________            Committee that disclosure would be a "clearly unwarranted            _________            invasion of personal privacy."  Accordingly, the information            was properly withheld under the FOIA Exemption 6.22                      D.  Discovery                          _________                      Plaintiff contends that the district court            improperly granted protective orders barring certain            interrogatories and a proposed deposition of Dr. Orlando            Bosch-Avila, an individual incarcerated in federal prison in            Miami.23  Neither claim warrants appellate intervention            into the district court's broad discretion in managing            pretrial discovery.  Intervention would be warranted "only            upon a clear showing of manifest injustice, that is, where                                            ____________________            22.  Because plaintiff  does not  challenge any of  the other            bases for withholdings asserted by the  government, plaintiff            has  waived  any  claims concerning  other  FOIA  exemptions.            E.g., Playboy  Enterprises, Inc. v. Public  Serv. Comm'n, 906            ____  __________________________    ____________________            F.2d  25, 40-41  (1st Cir.),  cert. denied  sub nom.  Cruz v.                                          ______________________  ____            Playboy Enterprises, Inc., 111 S. Ct. 388 (1990).            _________________________            23.  In support of her  motion to take the deposition  of Dr.            Bosch-Avila, plaintiff submitted the affidavit of  Sherry Ann            Sullivan.   Ms. Sullivan, a  private investigator who is also            the  head of "The Forgotten Families of the CIA," had brought            a  similar  FOIA  suit  to plaintiff's.    In  her affidavit,            Sullivan alleged that  a confidential informant  had personal            knowledge that  Dr. Bosch-Avila  had worked with  both Robert            Thompson and  her father, Geoffrey Sullivan, on CIA-sponsored            projects.  Ms. Sullivan further alleged that the testimony of            Dr. Bosch-Avila  would be "sufficient  for the CIA  to locate            the information  and documents  which have been  requested by            Plaintiff and which the C.I.A. says it cannot locate."                                         -46-            the lower court's discovery order was plainly wrong and            resulted in substantial prejudice to the aggrieved party."             Mack v. Great Atlantic &amp; Pacific Tea Co., 871 F.2d 179, 186            ____    ________________________________            (1st Cir. 1989).  Examination into the facts relative to the            protective orders does not reveal "manifest injustice."                       Plaintiff's barred interrogatories were served            approximately six months after the discovery deadline had            lapsed.  Plaintiff did not present any compelling reason for            having ignored the deadline.  With respect to the deposition            of Dr. Bosch-Avila, the government moved for a protective            order barring the deposition until plaintiff obtained the            consent of Dr. Bosch-Avila, a federal prisoner, and gave            advance notice to government counsel.  The district court            granted the motion "without prejudice to the deposition of            the subject being noticed with at least 10 days notice to            defense counsel."  Plaintiff did not seek to depose Dr.            Bosch-Avila at any later date.  It thus appears that            plaintiff's failure to obtain the  discovery in issue was the            result, in large part, of her own inaction.  The district            court did not abuse its discretion in ruling as it did.                      E.  Attorney's Fees                          _______________                      Plaintiff contends that the district court erred in            not awarding her attorney's fees.  A decision as to whether            to award attorney's fees is a matter within the sound            discretion of a trial court and will be reversed only for an                                         -47-            abuse of that discretion.  Aronson v. HUD, 866 F.2d 1, 2, 4                                       _______    ___            (1st Cir. 1989).                      Under the FOIA, a district court may award            attorney's fees and costs to a plaintiff who has            "substantially prevailed."  5 U.S.C.   552(a)(4)(E).  In            determining whether a plaintiff has "substantially prevailed"            within the meaning of 5 U.S.C.   552(a)(4)(E), a district            court must conduct a two-step inquiry.  First, did plaintiff            "substantially prevail"?  Second, if so, is plaintiff            entitled to an award based on a balancing of equitable            factors?  Crooker v. United States Parole Comm'n, 776 F.2d                      _______    ___________________________            366, 367 (1st Cir. 1985).24                        The district court in this case denied plaintiff's            motion for attorney's fees against all of the defendant            agencies, with the exception of the CIA,25 on the basis of            the first inquiry    i.e., plaintiff had not substantially                                            ____________________            24.  These factors  include the following:   "(1) the benefit            to  the  public,  if any,  derived  from  the  case; (2)  the            commercial benefit to the complainant;  (3) the nature of the            complainant's interest in the records sought; and (4) whether            the government's withholding of  the records had a reasonable            basis in law."  Aronson, 866  F.2d at 3 (quoting Crooker, 776                            _______                          _______            F.2d at 367); see also S. Conf. Rep. No. 1200,  93d Cong., 2d                          ________            Sess. (1974), reprinted in 1974 U.S.C.C.A.N. 6267, 6285, 6288                          ____________            (indicating that  Congress intended courts to  consider these            factors in determining  whether to exercise  their discretion            to   award   attorney's  fees   pursuant   to   5  U.S.C.                552(a)(4)(E)).            25.  The district  court decided  to await resolution  of the            CIA's  appeal before deciding the issue of attorney's fees as            to the CIA.                                         -48-            prevailed against any of the defendant agencies.  This            conclusion was entirely correct.  In order to prove that a            plaintiff substantially prevailed, a plaintiff must establish            that the filing of the litigation was "necessary" and "had a            causative effect on the disclosure of the requested            information."  Crooker v. United States Dept. of Justice, 632                           _______    ______________________________            F.2d 916, 932 (1st Cir. 1980) (citing Vermont Low Income                                                  __________________            Advocacy Council, Inc. (VLIAC) v. Usery, 546 F.2d 509, 513            ______________________________    _____            (2d Cir. 1976)).  At the time that the district court ruled            on the attorney's fee question, plaintiff's suit had resulted            in the disclosure of no documents from the DIA, the Customs            Service, or the INS.  The district court therefore was            clearly justified in denying attorney's fees as to these            defendant agencies.  Although the INS subsequently found and            delivered a lost document, there is no showing that the suit            was the cause of the delivery of this document.  We see no            reason, therefore, to disturb the district court's finding            that plaintiff did not substantially prevail against the INS.             See Weisberg v. United States Dept. of Justice, 848 F.2d            ___ ________    ______________________________            1265, 1271 (D.C. Cir. 1988); VLIAC, 546 F.2d at 514-15 (FOIA                                         _____            requester did not substantially prevail despite fact that            agency lost document and did not relocate it until after            litigation was filed).                      Nor do we fault the district court's conclusion            that plaintiff did not substantially prevail against either                                         -49-            the State Department or the FBI.  Both agencies produced            documents to plaintiff after suit was filed.  The chronology,            by itself however, is not determinative.  E.g., Cazalas v.                                                      ____  _______            United States Dept. of Justice, 660 F.2d 612, 619 (5th Cir.            ______________________________            1981) ("the mere fact that the documents requested were not            released until after the suit was instituted, without more,            is not enough to establish that a complainant has            substantially prevailed."); Cox v. United States Dept. of                                        ___    ______________________            Justice, 601 F.2d 1, 6 (D.C. Cir. 1979) (accord).  With the            _______            exception of a single name which the district court ordered            the FBI to disclose, plaintiff presented no evidence            suggesting that this litigation was necessary to obtain            requested information or that the litigation caused the            agency to produce the information.  E.g., Crooker, 632 F.2d                                                ____  _______            at 922.  Moreover, as the district court recognized, the            disclosure of a single name was of minimal importance when            compared with plaintiff's overall FOIA request.  E.g., Union                                                             ____  _____            of Concerned Scientists v. United States Nuclear Regulatory            _______________________    ________________________________            Comm'n, 824 F.2d 1219, 1226 (D.C. Cir. 1987); Chilivis v.            ______                                        ________            SEC, 673 F.2d 1205, 1213 (11th Cir. 1982).  Accordingly,            ___            there was no abuse of discretion in the court's finding that            plaintiff did not substantially prevail against the FBI.                      Plaintiff argues that this suit resulted in            progressively greater disclosure from the FBI, thus meeting            the causation requirement in 5 U.S.C.   552(a)(4)(E).                                          -50-            According to plaintiff, after initiation of the litigation,            she was provided with material that had previously been            redacted.  This argument, however, was raised for the first            time in an untimely motion for reconsideration, which the            district court properly denied.  The FBI submitted an            affidavit explaining that the release of the great bulk of            the redacted material was the result of inter-agency process,            not this litigation, and the release of the remainder of the            previously redacted material occurred after the agency became            aware that the material had previously been released to            another individual (thereby requiring its release to            plaintiff).  The district court was within its discretion in            concluding that plaintiff had not substantially prevailed,            and did not abuse its discretion by refusing to reconsider            this decision.                                         II.                                         II.                      The district court's order of November 14, 1990            compelling the CIA to disclose the third full paragraph on            page 2 of the December 22, 1961 memorandum is reversed.                                                          ________                      The district court's subsequent orders granting            summary judgment to the CIA, the FBI, the State Department,            the Customs Service, the INS, and the DIA, as well as its            decision not to award attorney's fees, are all affirmed.                                                           ________                      So ordered.  Costs to appellees in No. 92-1615 and                      __________   _____________________________________            to appellant in No. 91-1334.            ___________________________                                         -51-                                                            -52-

